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         EXHIBIT 8
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  From:            James Kolenich
  To:              Jennifer Brennan
  Cc:              Christopher Greene; John DiNucci; Bryan Jones; Rafael Guthartz; Gabrielle E. Tenzer; Michael Bloch
  Subject:         Re: Sines v. Kessler - Third Party Discovery Vendor Contract
  Date:            Thursday, February 14, 2019 12:29:26 PM
  Attachments:     image001.png
                   image002.png
                   image003.png
                   image004.png
                   image005.png
                   image006.png
                   image007.png
                   image008.png


  Thanks Jennifer. I have no further comments but I believe Mr. DiNucci has circulated
  proposed additional language.

  Jim

  On Thu, Feb 14, 2019 at 12:03 PM Jennifer Brennan <jbrennan@idsinc.com> wrote:

   Jim,



   Thank you for your separate email and we can accommodate the request. My apologies for
   the belated acknowledgment.



   John and Bryan,



   Do you have any further comments on the engagement letter? If not, then I will circulate an
   execution version.



   As a reminder, this will come to you for signature using DocuSign in an email from iDS
   Contracts. You do not need to download any software and can execute using a mobile
   device.

   Many thanks, Jennifer



   ---

   Jennifer A. Brennan

   Director of Legal, Risk & Compliance

   Direct: 202.249.7882
   Mobile: 202.309.1927
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                                   4063




   From: James Kolenich <jek318@gmail.com>
   Date: Thursday, February 14, 2019 at 11:57 AM
   To: Christopher Greene <cgreene@kaplanhecker.com>
   Cc: Jennifer Brennan <jbrennan@idsinc.com>, John DiNucci <dinuccilaw@outlook.com>,
   Bryan Jones <bryan@bjoneslegal.com>, Rafael Guthartz <rguthartz@idsinc.com>,
   "Gabrielle E. Tenzer" <gtenzer@kaplanhecker.com>, Michael Bloch
   <mbloch@kaplanhecker.com>
   Subject: Re: Sines v. Kessler - Third Party Discovery Vendor Contract



   [EXTERNAL]

   Chris:



     I e-mailed Jennifer with IDS yesterday regarding the contract. I requested one
   additional sentence regarding my client's inability to pay if called upon to so under
   the indemnification clause but did authorize my signature (whether or not the
   requested addition was acceptable) and advised we are ready to provide the
   devices and any account credentials they need when they are. No response as yet.



   To my knowledge no call has been scheduled yet.



   It makes sense to me that Plaintiffs provide their search terms and then we can add
   to them if necessary. In separate litigation with Mr. Kessler the counter parties
   search terms were extensive and I added a total of three terms to their several
   dozen.



   I am available anytime next Tuesday.



   Jim
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                                   4064


   On Thu, Feb 14, 2019 at 10:34 AM Christopher Greene <cgreene@kaplanhecker.com>
   wrote:

     Counsel,



     During Tuesday’s conference, the Court instructed the parties to finalize and execute the
     Third Party Discovery Vendor contract no later than this Friday. Since the sole remaining
     issue pertains only to iDS and Defendants, we wanted to check in about whether
     Defendants have made any counter-proposal or otherwise resolved the issue. As we have
     stated on prior meet and confers, and during yesterday’s conference, Plaintiffs take no
     position as to the scope of the indemnity provided by Defendants to iDS. However, the
     Court has now made clear that there can be no further delay.



     Moreover, please let us know if you have scheduled the call with iDS to discuss the
     logistics of ensuring a timely and efficient collection of Defendants’ Electronic Devices
     and Social Media Accounts.



     Finally, we would like to discuss with Defendants any search terms and date ranges they
     intend to apply to the corpus of electronically stored information obtained from the
     imaging of Defendants’ Electronic Devices and Social Media Accounts. As you know,
     the Imaging Order requires that Defendants share with Plaintiffs such information, (see
     Imaging Order, ¶ 8), and coming to agreement on those parameters in advance will help
     Defendants proceed to reviewing the collected information as soon as possible. Please let
     us know when you are available to speak on Tuesday of next week.



     Regards,



     Christopher B. Greene | Kaplan Hecker & Fink LLP
     350 Fifth Avenue | Suite 7110
     New York, New York 10118
     (W) 929.294.2528 | (M) 646.856.6861
     cgreene@kaplanhecker.com




     From: Jennifer Brennan <jbrennan@idsinc.com>
     Sent: Wednesday, February 6, 2019 11:34 AM
     To: Christopher Greene <cgreene@kaplanhecker.com>; James Kolenich
     <jek318@gmail.com>; John DiNucci <dinuccilaw@outlook.com>
Case 3:17-cv-00072-NKM-JCH Document 432-8 Filed 02/27/19 Page 5 of 12 Pageid#:
                                   4065

     Cc: Bryan Jones <bryan@bjoneslegal.com>; Rafael Guthartz <rguthartz@idsinc.com>;
     Gabrielle Tenzer <gtenzer@kaplanhecker.com>; Michael Bloch
     <mbloch@kaplanhecker.com>
     Subject: Re: Sines v. Kessler - Third Party Discovery Vendor Contract



     My apologies if I missed an email response. Is the proposed indemnity language below
     from iDS acceptable to Defendants? If so, I will finalize the engagement letter and
     circulate it for execution.

     Many thanks, Jennifer



     ---

     Jennifer A. Brennan

     Direct: 202.249.7882
     Mobile: 202.309.1927




     From: Christopher Greene <cgreene@kaplanhecker.com>
     Date: Monday, February 4, 2019 at 3:26 PM
     To: Jennifer Brennan <jbrennan@idsinc.com>, James Kolenich <jek318@gmail.com>,
     John DiNucci <dinuccilaw@outlook.com>
     Cc: Bryan Jones <bryan@bjoneslegal.com>, Rafael Guthartz <rguthartz@idsinc.com>,
     Gabrielle Tenzer <gtenzer@kaplanhecker.com>, Michael Bloch
     <mbloch@kaplanhecker.com>
     Subject: RE: Sines v. Kessler - Third Party Discovery Vendor Contract



     [EXTERNAL]

     John, Jim, Bryan – Please let us know if you have any objections to iDS’ proposed
     language. If you don’t, we can prepare a version for execution.




     From: Jennifer Brennan <jbrennan@idsinc.com>
     Sent: Monday, February 4, 2019 10:40 AM
     To: Christopher Greene <cgreene@kaplanhecker.com>; James Kolenich
Case 3:17-cv-00072-NKM-JCH Document 432-8 Filed 02/27/19 Page 6 of 12 Pageid#:
                                   4066

     <jek318@gmail.com>; John DiNucci <dinuccilaw@outlook.com>
     Cc: Bryan Jones <bryan@bjoneslegal.com>; Rafael Guthartz <rguthartz@idsinc.com>;
     Gabrielle Tenzer <gtenzer@kaplanhecker.com>; Michael Bloch
     <mbloch@kaplanhecker.com>
     Subject: Re: Sines v. Kessler - Third Party Discovery Vendor Contract



     Good morning,



     iDS has reviewed the proposed revisions from Defendants regarding the indemnification
     provision. While iDS is open to a provision that limits a Defendant’s expose to a
     particular subset of claims/circumstances, the proposed revision does not offer iDS
     adequate protection if a subpoena, court order or other legal process is brought against
     iDS directly and instead would only apply if obtained or issued by a Defendant.



     iDS proposes the following language to broaden the scope of covered
     claims/circumstances while still limiting the indemnification obligation to a particular
     Defendant.



     6.1           Indemnification. Defendants shall indemnify and hold iDS harmless from and against all losses,
     liabilities, costs, damages, and expenses incurred by iDS as a result of a claim, demand, subpoena, cause of
     action, or other legal process by a third-party other than Plaintiffs related to (a) the performance of Services
     by iDS, or (b) any Confidential Information of Defendant Firms or Defendant Clients, provided, however, as
     follows: (i) no Defendant shall be so liable to indemnify or hold harmless iDS other than for said matters that
     relate to the content of, or the disclosure to iDS of, said Defendant's Confidential Information, or (ii) in the
     event that the Project Contact or iDS is requested pursuant to subpoena, court order or other legal process to
     produce any documents or provide testimony related to the performance of the Services, other than as
     included in the Services, the Defendant(s) that provided such Confidential Information to iDS shall pay iDS
     for all professional time and expenses incurred in preparing for and responding to said requests for
     documents or said providing testimony in accordance with Section 2.1 or applicable statutory rates.




     Please let me know if the above is amendable to Defendants.



     Best, Jennifer

     ---

     Jennifer A. Brennan

     Direct: 202.249.7882
     Mobile: 202.309.1927
Case 3:17-cv-00072-NKM-JCH Document 432-8 Filed 02/27/19 Page 7 of 12 Pageid#:
                                   4067




     From: Christopher Greene <cgreene@kaplanhecker.com>
     Date: Thursday, January 31, 2019 at 11:17 AM
     To: Jennifer Brennan <jbrennan@idsinc.com>, James Kolenich <jek318@gmail.com>,
     John DiNucci <dinuccilaw@outlook.com>
     Cc: Bryan Jones <bryan@bjoneslegal.com>, Rafael Guthartz <rguthartz@idsinc.com>,
     Gabrielle Tenzer <gtenzer@kaplanhecker.com>, Michael Bloch
     <mbloch@kaplanhecker.com>
     Subject: RE: Sines v. Kessler - Third Party Discovery Vendor Contract



     [EXTERNAL]

     Mr. DiNucci,



     During Tuesday’s meet and confer concerning the proposed Third Party Discovery
     Vendor contract, you indicated that you would propose revisions to Section 6.1 for the
     parties to consider by yesterday. Please let us know when you expect to send the
     proposed revisions. As I stressed during Tuesday’s call, there is some urgency to
     finalizing and executing this contract in light of the discovery schedule.



     Regards,



     Christopher B. Greene | Kaplan Hecker & Fink LLP
     350 Fifth Avenue | Suite 7110
     New York, New York 10118
     (W) 929.294.2528 | (M) 646.856.6861
     cgreene@kaplanhecker.com




     From: Christopher Greene
     Sent: Monday, January 28, 2019 5:35 PM
     To: Jennifer Brennan <jbrennan@idsinc.com>; James Kolenich <jek318@gmail.com>;
     John DiNucci <dinuccilaw@outlook.com>
     Cc: Bryan Jones <bryan@bjoneslegal.com>; Rafael Guthartz <rguthartz@idsinc.com>;
     Gabrielle Tenzer <gtenzer@kaplanhecker.com>; Michael Bloch
     <mbloch@kaplanhecker.com>
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     Subject: RE: Sines v. Kessler - Third Party Discovery Vendor Contract



     All,



     Does tomorrow at 3 pm work for the group? So far I see that Mr. Kolenich and Ms.
     Brennan can make it then. If not, KHF is also available Wednesday at 2-2:30 and after
     5:30, and Thursday 3:30-4 or 5-6 pm (which conform with the availabilities received thus
     far).



     Regards,



     Christopher B. Greene | Kaplan Hecker & Fink LLP
     350 Fifth Avenue | Suite 7110
     New York, New York 10118
     (W) 929.294.2528 | (M) 646.856.6861
     cgreene@kaplanhecker.com




     From: Jennifer Brennan <jbrennan@idsinc.com>
     Sent: Monday, January 28, 2019 10:07 AM
     To: James Kolenich <jek318@gmail.com>; John DiNucci <dinuccilaw@outlook.com>
     Cc: Christopher Greene <cgreene@kaplanhecker.com>; Bryan Jones
     <bryan@bjoneslegal.com>; Rafael Guthartz <rguthartz@idsinc.com>; Gabrielle Tenzer
     <gtenzer@kaplanhecker.com>; Michael Bloch <mbloch@kaplanhecker.com>
     Subject: Re: Sines v. Kessler - Third Party Discovery Vendor Contract



     Good morning,



     iDS is generally available on Tuesday and Friday. On Wednesday and Thursday I am in
     all day meetings, however, I do have some periods of availability as listed below:



            Tuesday – generally available
            Wednesday – 12:30-1 pm, 2-2:30 pm, or after 5:30 pm
            Thursday – 1-2 pm, 3:30-4 pm or 5-6 pm
            Friday – generally available
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                                   4069

     Many thanks, Jennifer



     ---

     Jennifer A. Brennan

     Direct: 202.249.7882
     Mobile: 202.309.1927




     From: James Kolenich <jek318@gmail.com>
     Date: Monday, January 28, 2019 at 9:49 AM
     To: John DiNucci <dinuccilaw@outlook.com>
     Cc: Christopher Greene <cgreene@kaplanhecker.com>, Bryan Jones
     <bryan@bjoneslegal.com>, Rafael Guthartz <rguthartz@idsinc.com>, Jennifer Brennan
     <jbrennan@idsinc.com>, Gabrielle Tenzer <gtenzer@kaplanhecker.com>, Michael Bloch
     <mbloch@kaplanhecker.com>
     Subject: Re: Sines v. Kessler - Third Party Discovery Vendor Contract



     I am available Tuesday, Wednesday, or Thursday anytime, but unavailable
     Friday.



     Jim



     On Fri, Jan 25, 2019 at 1:13 PM John DiNucci <dinuccilaw@outlook.com> wrote:

           All:



              I have a trial on Monday and am tied up today dealing with it.



              What is everyone's availability from next Tuesday forward?
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                                    4070

                           John



        Law Office of John A. DiNucci
        8180 Greensboro Drive
        Suite 1150
        McLean, Virginia 22102
        tel.: (703) 821-4232
        fax: (703) 790-9863

        Admitted in D.C., Maryland, New York and Virginia




        From: Christopher Greene <cgreene@kaplanhecker.com>
        Sent: Friday, January 25, 2019 10:58 AM
        To: John DiNucci; Bryan Jones; James Kolenich; Rafael Guthartz;
        jbrennan@idsinc.com
        Cc: Gabrielle Tenzer; Michael Bloch
        Subject: Sines v. Kessler - Third Party Discovery Vendor Contract



        All,

        Attached is a revised contract with the Third Party Discovery Vendor incorporating the
        comments from the parties’ meet and confer on January 18, 2019. We believe that
        Plaintiffs, Defendants, and iDS should convene a call to resolve any outstanding
        concerns so that the parties can execute the contract and proceed with the collection
        required by the Court’s Order for the Imaging, Preservation, and Production of
        Documents.

        Please let us know when you are available to speak. Plaintiffs are generally available
        this afternoon after 2 pm, and on Monday after 11:30 am.

        Regards,

        Christopher B. Greene | Kaplan Hecker & Fink LLP
        350 Fifth Avenue | Suite 7110
        New York, New York 10118
        (W) 929.294.2528 | (M) 646.856.6861
        cgreene@kaplanhecker.com




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                                    4071




      --

      James E. Kolenich

      Kolenich Law Office

      9435 Waterstone Blvd. #140

      Cincinnati, OH 45249

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    --

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  --
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